             Case 3-25-10326-beh                  Doc 1      Filed 02/18/25 Entered 02/18/25 16:38:12                               Desc Main
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Fill in this information to identify your case:

United States Bankruptcy Court for the:

WESTERN DISTRICT OF WISCONSIN

Case number (if known)                                                      Chapter      11
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           06/24
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                PinSeekers DeForest Operations LLC

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  6909 River Road                                                 PO Box 5065
                                  DeForest, WI 53532                                              Coralville, IA 52241
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Dane                                                            Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)       https://pinseekers.golf/deforest/


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




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Debtor    PinSeekers DeForest Operations LLC                                                           Case number (if known)
          Name



7.   Describe debtor's business       A. Check one:
                                         Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                         Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                         Railroad (as defined in 11 U.S.C. § 101(44))
                                         Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                         Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                         Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                         None of the above

                                      B. Check all that apply
                                         Tax-exempt entity (as described in 26 U.S.C. §501)
                                         Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                         Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                      C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                        http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                7139

8.   Under which chapter of the       Check one:
     Bankruptcy Code is the
                                         Chapter 7
     debtor filing?
                                         Chapter 9

                                         Chapter 11. Check all that apply:
                                                                 Debtor’s aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
                                                                 are less than $3,024,725 (amount subject to adjustment on 4/01/25 and every 3 years after that).
                                                                 The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the debtor is a small
                                                                 business debtor, attach the most recent balance sheet, statement of operations, cash-flow
                                                                 statement, and federal income tax return or if all of these documents do not exist, follow the
                                                                 procedure in 11 U.S.C. § 1116(1)(B).
                                                                 The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and it chooses to
                                                                 proceed under Subchapter V of Chapter 11.
                                                                 A plan is being filed with this petition.
                                                                 Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                                 The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                                 The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                         Chapter 12

9.   Were prior bankruptcy               No.
     cases filed by or against
     the debtor within the last 8        Yes.
     years?
     If more than 2 cases, attach a
     separate list.                             District                                  When                                  Case number
                                                District                                  When                                  Case number

10. Are any bankruptcy cases             No
    pending or being filed by a
    business partner or an               Yes.
    affiliate of the debtor?




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Debtor    PinSeekers DeForest Operations LLC                                                              Case number (if known)
          Name

     List all cases. If more than 1,
     attach a separate list                          Debtor                                                                    Relationship
                                                     District                                 When                             Case number, if known


11. Why is the case filed in           Check all that apply:
    this district?
                                                Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                                preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                                A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or                 No
    have possession of any
    real property or personal                       Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                           Yes.
    property that needs
    immediate attention?                            Why does the property need immediate attention? (Check all that apply.)
                                                       It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                      What is the hazard?
                                                       It needs to be physically secured or protected from the weather.
                                                       It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                                      livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                       Other
                                                    Where is the property?
                                                                                     Number, Street, City, State & ZIP Code
                                                    Is the property insured?
                                                       No
                                                       Yes.     Insurance agency
                                                                Contact name
                                                                Phone



          Statistical and administrative information

13. Debtor's estimation of             .         Check one:
    available funds
                                                    Funds will be available for distribution to unsecured creditors.
                                                    After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of                    1-49                                             1,000-5,000                                 25,001-50,000
    creditors                              50-99                                            5001-10,000                                 50,001-100,000
                                           100-199                                          10,001-25,000                               More than100,000
                                           200-999

15. Estimated Assets                       $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                           $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                           $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                           $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities                  $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                           $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                           $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                           $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion




Official Form 201                                  Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                   page 3
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Debtor    PinSeekers DeForest Operations LLC                                                       Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      February 18, 2025
                                                  MM / DD / YYYY


                             X /s/ Nicholas A. Andersen                                                   Nicholas A. Andersen
                                 Signature of authorized representative of debtor                         Printed name

                                 Title




18. Signature of attorney    X /s/ Rebecca R. DeMarb                                                       Date February 18, 2025
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Rebecca R. DeMarb
                                 Printed name

                                 SWANSON SWEET LLP
                                 Firm name

                                 8020 Excelsior Drive
                                 Suite 401
                                 Madison, WI 53717
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     608-709-5992                  Email address      rdemarb@swansonsweet.com


                                 Bar number and State




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                    CONSENT RESOLUTION OF THE MEMBERS OF
                     PINSEEKERS DEFOREST OPERATIONS, LLC

       Golf DeForest RE, LLC, holding 90% of the membership interest in PinSeekers DeForest
Operations, LLC (the “Company”), a Wisconsin limited liability company, and Palm Ventures,
LLC, holding 10% of the membership interest in the Company, do hereby waive notice of meeting
and adopt the following resolutions by written consent:

      WHEREAS, the Company leases real estate located at 6909 River Road, DeForest,
Wisconsin 53532 to operate a year-round golf and entertainment business.

        WHEREAS, the Company has determined that it is desirable and in the best interests of
the Company, creditors, employees, and other interested parties that the Company file a voluntary
petition for relief under chapter 11 of the Bankruptcy Code in the United States Bankruptcy Court
for the Western District of Wisconsin.

       NOW, THEREFORE, BE IT RESOLVED, that the Company be, and hereby is,
authorized and empowered to file a voluntary petition for relief under chapter 11 of the Bankruptcy
Code in the United States Bankruptcy Court for the Western District of Wisconsin.

        BE IT FURTHER RESOLVED that Nicholas A. Andersen (the “Authorized Agent”) be,
and hereby is, authorized and directed, in the name of and on behalf of the Company to (1) work
with, prepare, and file the petition for relief for the Company at a time and in a manner within the
Authorized Agent’s discretion; (2) cause to be filed all other necessary and essential papers in
connection with the Company’s chapter 11 proceeding and to prosecute such papers; and (3) to
take further and other actions and take any additional steps, in the name and on behalf of the
Company, necessary and appropriate to prosecute the chapter 11 proceeding.

        BE IT FURTHER RESOLVED that the Authorized Agent be, and hereby is, authorized
and directed to employ the law firm of Swanson Sweet LLP (“SSLLP”) as general bankruptcy
counsel to represent and assist the Company in prosecuting cases under chapter 11 of the
Bankruptcy Code, and to take any and all actions to advance the Company’s rights and obligations,
including filing any pleadings; and in connection therewith, the Authorized Agent be, and hereby
is, authorized and directed to execute appropriate retention agreements with SSLLP and to pay
appropriate retainers.

        BE IT FURTHER RESOLVED that the Authorized Agent be, and hereby is, authorized
and directed to employ any other professionals to assist the Company in carrying out its duties
under the Bankruptcy Code, and to take any and all actions to advance the Company’s rights and
obligations; and in connection therewith, the Authorized Agent be, and hereby is, authorized and
directed to execute appropriate retention agreements.




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        BE IT FURTHER RESOLVED that the Authorized Agent be, and hereby is, authorized
and directed to execute and file all petitions, schedules, motions, lists, applications, pleadings, and
other papers and, in connection therewith, to employ and retain all assistance by legal counsel,
accountants, financial advisors, and other professionals and to take and perform any and all further
acts and deeds that the Authorized Agent deems necessary, proper, or desirable in connection with
the chapter 11 proceeding.

        BE IT FURTHER RESOLVED that, in connection with the commencement of the
chapter 11 proceeding, the Authorized Agent be, and hereby is, authorized and directed to seek
approval of the use of cash collateral or the incurrence of post-petition debt, and the Authorized
Agent be, and hereby is, authorized and directed to negotiate, execute, and deliver any and all
agreements, instruments, or documents by or on behalf of the Company necessary to implement
the foregoing, as well as any additional or further agreements for the use of cash collateral or post-
petition debt in connection with the chapter 11 proceeding, which agreements may require that the
Company grant liens.

        BE IT FURTHER RESOLVED that, in addition to the specific authorizations conferred
upon the Authorized Agent, the Authorized Agent, and his designees or delegates, be, and hereby
are, authorized and empowered, in the name of and on behalf of the Company, to take or cause to
be taken any and all such other and further action, and to execute, acknowledge, deliver, and file
any and all such agreements, certificates, instruments, and other documents to pay all expenses,
including but not limited to filing fees, in each case as in the Authorized Agent’s judgment shall
be necessary, advisable, or desirable in order to fully carry out the intent and accomplish the
purposes of the resolutions adopted herein.

       BE IT FURTHER RESOLVED that all acts, actions, and transactions relating to the
matters contemplated by the foregoing resolutions done in the name of and on behalf of the
Company, which acts would have been approved by the foregoing resolutions except that such acts
were taken before the adoption of these resolutions, are hereby approved and ratified as true acts
and deeds of the Company, with the same force and effect as if each such act, action, or transaction
had been specifically authorized in advance by this resolution.




                                                  2
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                          SIGNATURE PAGE FOR
                 CONSENT RESOLUTION OF THE MEMBERS OF
                  PINSEEKERS DEFOREST OPERATIONS, LLC


                                       GOLF DEFOREST RE, LLC (90%)


                                       By:
                                             Scott A. Andersen, as an authorized
                                             representative of Golf DeForest RE, LLC


                                       PALM VENTURES, LLC (10%)


                                       By:
                                             Austin Palm, as an authorized representative
                                             of Palm Ventures, LLC




                                         3
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 Fill in this information to identify the case:
 Debtor name PinSeekers DeForest Operations LLC
 United States Bankruptcy Court for the: WESTERN DISTRICT OF                                                                                 Check if this is an
                                                WISCONSIN
 Case number (if known):                                                                                                                     amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim               Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade            is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,            unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,            disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                    Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                        partially secured          of collateral or setoff
 All in the Timing                                   Trade Payable             Unliquidated                                                                        $3,323.25
 Productions, LLC
 c/o Hunter Adam
 Connors-Herm
 913 N. Wingra Drive
 Madison, WI 53715
 Badger Sports                                       Trade Payable             Unliquidated                                                                      $56,568.00
 Properties, LLC
 c/o CT Corporation
 System
 301 S. Bedford
 Street
 Suite 1
 Madison, WI 53703
 Bill Ranguette                                      Note Payable              Unliquidated                                                                      $63,833.49
 1050 Lillian Street
 Suite 300
 Waunakee, WI 53597
 Coverall North                                      Trade Payable             Unliquidated                                                                        $8,600.00
 America Inc
 3315 N. 124th Street
 Suite C
 Brookfield, WI
 53005-3105
 Fearing's                                           Trade Payable             Unliquidated                                                                        $5,891.23
 Audio-Video-Securit
 y
 722 Walsh Raod
 Madison, WI 53714
 FRANK LIQUOR                                        Trade Payable             Unliquidated                                                                        $1,135.28
 COMPANY INC
 2115 N. Pleasant
 View Road
 Middleton, WI 53562
 General Beverage                                    Trade Payable             Unliquidated                                                                        $1,852.46
 Sales Madison
 6169 McKee Road
 Fitchburg, WI 53719

Official form 204                       Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1
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 Debtor    PinSeekers DeForest Operations LLC                                                        Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim               Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade            is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,            unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,            disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                    Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                        partially secured          of collateral or setoff
 Off Course                                          Trade Payable             Unliquidated                                                                      $18,160.00
 Productions, Inc.
 dba Glow Ge
 1773 Stardust Plaza
 Palm Springs, CA
 92264
 Performance                                         Trade Payable             Unliquidated                                                                        $4,969.04
 Foodservice - La
 Crosse
 100 Harbor Plaza
 Suite 200
 La Crosse, WI 54601
 PINSEEKERS                                          Unpaid Rent               Unliquidated                                                                    $630,000.00
 DEFOREST LLC
 1100 Anderson
 Place
 Suite 5500
 Tiffin, IA 52340
 Quartz Health                                       Trade Payable             Unliquidated                                                                        $3,035.17
 Benefit Plans
 Corporation
 2650 Novation
 Parkway
 Fitchburg, WI 53713
 Ryan Ranguette                                      Unknown                   Unliquidated                                                                        $1,872.25
 1105 Parkview
 Circle
 Waunakee, WI 53597
 Schemmel Law                                        Legal Services            Unliquidated                                                                        $1,564.00
 Office
 6200 Mineral Point
 Road
 Suite 100
 Madison, WI 53705
 St. Somwhere, Inc.                                  Management                Unliquidated                                                                      $22,000.00
 1050 Lillian Street                                 Contract
 Waunakee, WI 53597
 Stroud Willink &                                    Legal Services            Unliquidated                                                                        $5,950.00
 Howard, LLC
 33 E. Main Street
 Suite 610
 Madison, WI 53703
 TopGolf USA Inc                                     Trade Payable             Unliquidated                                                                        $9,969.76
 8750 North Central
 Expressway
 Suite 1200
 Dallas, TX 75231




Official form 204                       Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 2
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 Debtor    PinSeekers DeForest Operations LLC                                                        Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim               Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade            is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,            unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,            disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                    Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                        partially secured          of collateral or setoff
 U.S. Department of                                  Civil Money               Disputed                                                                          $50,989.62
 Labor                                               Penalty for Child
 Wage and Hour                                       Labor Violations
 Division
 310 W. Wisconsin
 Avenue, Suite 1170
 Milwaukee, WI
 53203
 V Marchese, Inc.                                    Trade Payable             Unliquidated                                                                        $3,760.85
 600 S. Jake
 Marchese Way
 Milwaukee, WI
 53204
 Village of DeForest                                 Trade Payable             Unliquidated                                                                        $2,227.50
 120 South
 Stevenson Street
 DeForest, WI 53532
 WDI LLC dba                                         Trade Payable             Unliquidated                                                                        $2,765.01
 Wisconsin
 Distributors, Sun
 900 Progress Way
 Sun Prairie, WI
 53590




Official form 204                       Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 3
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                          1020 Quinn Dr., LLC
                          c/o William Ranguette
                          1050 Lillian Street
                          Suite 300
                          Waunakee, WI 53597

                          1st American Pest Control
                          4222 Milwaukee Street
                          #4
                          Madison, WI 53714

                          3RS Holding, LLC
                          1050 Lillian Street
                          Suite 300
                          Waunakee, WI 53597

                          A.F.
                          901 Sunset Bay
                          Waunakee, WI 53597

                          A.N.
                          7709 Catchfly Lane
                          Deforest, WI 53532

                          A.Q.
                          730 South Main Street
                          #1
                          Deforest, WI 53532

                          Aiden Bengry
                          6596 Scattergood Lane
                          Windsor, WI 53598

                          Alejo Quechol
                          730 South Main Street
                          #1
                          Deforest, WI 53532

                          Alex Ripp
                          7436 Clemens Road
                          Dane, WI 53529

                          Alex Shinnick
                          360 Bella Way
                          Sun Prairie, WI 53590

                          Alexander J. Andersen
                          1704 Green Oaks Pass
                          Tiffin, IA 52340

                          All in the Timing Productions, LLC
                          c/o Hunter Adam Connors-Herm
                          913 N. Wingra Drive
                          Madison, WI 53715
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                      Alsco
                      505 East 200 South
                      Salt Lake City, UT 84102

                      Amazon.com
                      ATTN: General Counsel
                      PO Box 81226
                      Seattle, WA 98108-1226

                      Andersen Holdings, LLC
                      P.O. Box 5198
                      IA 52441

                      Attorney General of the United States
                      U.S Department of Justice
                      950 Pennsylvania Avenue, NW
                      Washington, DC 20530-0001

                      Austin Davis
                      N2814 Demynck Road
                      Lodi, WI 53555

                      Austin Harris
                      6661 Fairway Circle
                      Windsor, WI 53598

                      Austin James Palm
                      1101 Parkview Circle
                      Waunakee, WI 53597

                      Avery Meek
                      413 HAWTHORN CT
                      Deforest, WI 53532

                      Avery Tourdot
                      1003 Pasadena Parkway
                      Waunakee, WI 53597

                      B.S.
                      1020 Aldora Ln
                      Waunakee, WI 53597

                      Badger Sports Properties, LLC
                      c/o CT Corporation System
                      301 S. Bedford Street
                      Suite 1
                      Madison, WI 53703

                      Bailey Elizabeth Andersen
                      2101 Scales Bend Road
                      North Liberty, IA 52317

                      Bailey Monroe
                      803 Shooting Start Circle
                      Deforest, WI 53532
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                      Beechwood Distributors
                      5350 S. Emmer Drive
                      New Berlin, WI 53151

                      Ben Lindley
                      1703 Dover Drive
                      Waunakee, WI 53597

                      Bill Ranguette
                      1050 Lillian Street
                      Suite 300
                      Waunakee, WI 53597

                      Brady Cizek
                      310 Grant Street
                      Waunakee, WI 53597

                      Brady Stensven
                      237 Merrick Terrace
                      Marshall, WI 53559

                      Breakthru Beverage Wisconsin On Premise,
                      4454 Robertson Rd
                      Madison, WI 53714

                      Brett Owen
                      625 Seminole Way
                      Deforest, WI 53532

                      Brian Markle
                      809 Steven View
                      Waunakee, WI 53597

                      Brianna Larson
                      694 Pelican Lane
                      Sun Prairie, WI 53590

                      Brittany Strunz
                      6408 Bridge Road
                      Monona, WI 53715

                      C.M
                      926 Skylark Lane
                      Deforest, WI 53532

                      C.O.
                      4361 Wren Court
                      Windsor, WI 53704

                      C.S.


                      Capital Newpapers
                      1901 Fish Hatchery Road
                      Madison, WI 53713
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                      CARISOLO,INC.
                      E7995 School Road
                      Sauk City, WI 53583

                      Chalea Paulson
                      S8325 Denzer Road
                      North Freedom, WI 53951

                      Chloe Knutson
                      332 Harvard Drive
                      Deforest, WI 53532

                      Christian Bakken
                      2171 Effingham Way
                      Sun Priaire, WI 53590

                      Cintas
                      2222 Vondron Road
                      Madison, WI 53718

                      Connor Anhalt
                      7713 Clinton Road
                      Deforest, WI 53532

                      Coverall North America Inc
                      3315 N. 124th Street
                      Suite C
                      Brookfield, WI 53005-3105

                      Cristian Ramirez
                      6721 Century Avenue
                      Middleton, WI 53562

                      David J. Streb
                      P.O. Box 5065
                      Coralville, IA 52241

                      Daytona Zick
                      W10140 County Road X
                      Portage, WI 53901

                      DeForest Utilities
                      306 Deforest Street
                      DeForest, WI 53532

                      Department of Labor
                      Attn: Secretary of Labor
                      200 Constitution Ave NW
                      Washington, DC 20210

                      Design Garden LLC
                      545 D'onofrio Drive
                      Unit 7
                      Madison, WI 53719
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                      Deforest, WI 53532

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                      Madison, WI 53716

                      Fearing's Audio-Video-Security
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                      Frank Beer Distributors, Inc.
                      2115 N. Pleasant View Road
                      Middleton, WI 53562

                      FRANK LIQUOR COMPANY INC
                      2115 N. Pleasant View Road
                      Middleton, WI 53562

                      General Beer Distributors
                      6169 McKee Road
                      Fitchburg, WI 53719

                      General Beverage Sales Madison
                      6169 McKee Road
                      Fitchburg, WI 53719

                      Ginger Zimmerman
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                      Madison, WI 53703

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                      115 Third Street SE
                      Suite 1200
                      Cedar Rapids, IA 52401

                      Golf DeForest RE, LLC
                      1100 Andersen Place, Suite 500
                      Tiffin, IA 52340
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                      Fitchburg, WI 53711

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                      Cincinnati, OH 45280-2562

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                      308 Forreston Dr
                      Cottage Grove, WI 53527

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                      1708 DunWoody Lane
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                      Deforest, WI 53532

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                      Apt. #109
                      Madison, WI 53704
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                      Windsor, WI 53598

                      Jenna Graske
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                      Windor, WI 53598

                      Joe Munns
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                      Windsor, WI 53598

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                      Waunakee, WI 53597

                      Jose Alberto Rivera


                      Joshua Alfred
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                      Waunakee, WI 53597

                      Josie Ramirez
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                      Middleton, WI 53562

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                       53713

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                      Stoughton, WI 53589

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                      Madison, WI 53704

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                      Dane, WI 53529
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                      Nolan Powers
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                      P.R.
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                      Parker Rogalla
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                      PayPal
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                      Phillips Distributing Corporation
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                      PinSeekers DeForest LLC
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                      Pro-Flo Inc
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                      Milwaukee, WI 53203

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                      Milwaukee, WI 53204

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                      DeForest, WI 53532

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                      Wisconsin Department of Revenue
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                      Madison, WI 53708-8981

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                      Zach Vils
                      4591 Prairie Fire Court
                      Deforest, WI 53532
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                                          United States Bankruptcy Court
                                              Western District of Wisconsin
 In re   PinSeekers DeForest Operations LLC                                           Case No.
                                                             Debtor(s)                Chapter     11




                             CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for PinSeekers DeForest Operations LLC in the above captioned action, certifies that
the following is a (are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10%
or more of any class of the corporation's(s') equity interests, or states that there are no entities to report under FRBP
7007.1:
Golf DeForest RE, LLC
1100 Andersen Place, Suite 500
Tiffin, IA 52340
Palm Ventures, LLC
1107 Park View Circle
Waunakee, WI 53597




  None [Check if applicable]




February 18, 2025                               /s/ Rebecca R. DeMarb
Date                                            Rebecca R. DeMarb
                                                Signature of Attorney or Litigant
                                                Counsel for PinSeekers DeForest Operations LLC
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